         Case 1:16-cv-01010-TCW Document 15 Filed 12/02/16 Page 1 of 4




       In the United States Court of Federal Claims
                                       No. 16-1010C

                                 (Filed: December 2, 2016)

*************************************
                                    *
ASHTON KRUKOWSKI,                   *
                                    *
                    Plaintiff,      *             Rule 12(b)(1) Motion to Dismiss;
                                    *             Tort Claims; False Arrest Claim;
v.                                  *             Constitutional  Claims;   Proper
                                    *             Defendants; Claim Pending before
THE UNITED STATES,                  *             another Court.
                                    *
                    Defendant.      *
                                    *
*************************************

Ashton Krukowski, Las Vegas, Nevada, pro se Plaintiff.

Reta E. Bezak, with whom were Benjamin C. Mizer, Deputy Principal Assistant Attorney
General, Robert E. Kirschman, Jr., Director, and Deborah A Bynum, Assistant Director,
Commercial Litigation Branch, Civil Division, U.S. Department of Justice, Washington,
D.C., for Defendant.

                                 OPINION AND ORDER

WHEELER, Judge.

        Ashton Krukowski, a currently incarcerated pro se plaintiff, seeks relief in this
Court for false arrest, constitutional violations, and various tort claims associated with his
arrest in February 2016. The Government has filed a motion to dismiss for lack of subject
matter jurisdiction, or in the alternative, for failure to state a claim upon which relief can
be granted. For reasons explained below, the Court GRANTS the Government’s motion
to dismiss Mr. Krukowski’s claims.

                                        Background

     Mr. Krukowski is currently being held at the Clark County Detention Center in
Nevada. Compl. at 3. He alleges that he was falsely arrested, subject to violations of his
         Case 1:16-cv-01010-TCW Document 15 Filed 12/02/16 Page 2 of 4



constitutional rights, the victim of identity theft, and has suffered abuse and neglect while
in custody. Id. He further alleges that a motion to dismiss counsel and to appoint alternate
counsel was wrongfully denied by the United States District Court of Nevada. Compl. at
4. On August 15, 2016, he filed a complaint with this Court seeking relief for all of these
claims. On October 14, 2016, the Government filed a Rule 12(b)(1) motion to dismiss for
lack of subject matter jurisdiction, or in the alternative, a Rule 12(b)(6) motion for failure
to state a claim upon which relief can be granted. Def.’s Mot. at 1. Mr. Krukowski filed a
response entitled “Summary Supplementing Facts to Complaint” on October 18, 2016.
Pl.’s Resp. at 1.

       In his October 18, 2016 response, Mr. Krukowski informs the Court of the
background information supporting his various claims. Mr. Krukowski first claims that
there are at least 20 charges on his criminal record for which “someone was arrested and
booked …under [his] name.” Id. at 5-10. As a result, he claims he has been the victim of
identity theft. Id. at 5.

        Next, Mr. Krukowski claims he was falsely arrested and subject to an illegal search
and seizure. On February 5, 2016, a security guard knocked on Mr. Krukowski’s hotel
room door investigating allegations that someone was “attempting to murder someone from
inside the residence with a firearm.” Id. at 11. The security guard “mace[d] Ashton in the
face and pull[ed] him outside.” Id. The security guard then called for police assistance.
The police arrived, detained Mr. Krukowski, and began searching his property “without
probable cause.” Id. at 12. Mr. Krukowski was arrested and upgraded to a “category/code
5” due to his extensive criminal record. Id. at 12.

        Mr. Krukowski believes he suffered violations of his constitutional rights following
his arrest. Id. at 12-18. These include being subject to a competency hearing without his
consent, being forced to answer questions during a competency proceeding, not receiving
bail, and not being allowed to dismiss his counsel and receive alternative counsel. Id. at
12-16. In addition, he claims that he has endured “a lot of abuse and neglect” while in
custody. Compl. at 4.

       The complaint in this case names several defendants including seven officers from
the Las Vegas Metropolitan Police Department, an employee of Rock Security, an
employee of the Emerald Suites Hotel, an officer of the Henderson Police Department,
three employees of the District Attorney’s Office, two employees of “A.S.T.A.”, two
employees of “I.N.F.M.”, an employee of the city of Las Vegas, five employees of District
Public Defenders Office, an employee of the Clark County Detention Center, and an
employee of Clark County. Compl. at 7-8.

       Mr. Krukowski has submitted two additional complaints to the 8th U.S District
Court of Nevada regarding these same allegations. Compl. at 4 (“in case #2:16-cv-01782-
APA-PAL and in case #2:16-cv-01701-APG-VCF, [about the] same incidents . . . .”). One

                                              2
         Case 1:16-cv-01010-TCW Document 15 Filed 12/02/16 Page 3 of 4



of these complaints was filed three weeks before Mr. Krukowski filed the complaint with
this Court. Krukowski v. LVMPD, et al., No. 2:16-cv-01782-APG-PAL (D. Nev. Jul. 26,
2016) (Dkt. No. 11, Att. A). According to Mr. Krukowski, he has also filed an appeal with
the Supreme Court of Nevada which was subsequently dismissed. Pl.’s Resp. at 18.

                                         Discussion

       The Tucker Act ordinarily is the focus of subject matter jurisdiction in this Court,
and states:

              The United States Court of Federal Claims shall have
              jurisdiction to render judgment upon any claim against the
              United States founded either upon the Constitution, or any Act
              of Congress or any regulation of an executive department, or
              upon any express or implied contract with the United States, or
              for liquidated or unliquidated damages in cases not sounding
              in tort.

28 U.S.C. § 1491(a)(1). The Tucker Act itself “does not create a cause of action.” RHI
Holdings, Inc. v. United States, 142 F.3d 1459, 1461 (Fed. Cir. 1998). Thus, a plaintiff
must identify a “separate source of substantive law that creates the right to money
damages” in order to invoke the Court’s jurisdiction over a claim. Greenlee County, Ariz.
v. United States, 487 F.3d 871, 875 (Fed. Cir. 2007) (quoting Fisher v. United States, 402
F.3d 1167, 1172 (Fed. Cir. 2005)). Failure to establish jurisdiction under the Tucker Act
requires the Court to dismiss under Rule 12(b)(1). Outlaw v. United States, 116 Fed. Cl.
656, 658 (2014). When deciding a Rule 12(b)(1) motion to dismiss, a court must assume
all the undisputed facts in the complaint are true and draw reasonable inferences in the non-
movant’s favor. Erikson v. Pardus, 551 U.S. 89, 91 (2007). Courts hold pleadings made
by pro se plaintiffs to a less stringent standard and liberally construe language in the
plaintiff’s favor. Erickson, 551 U.S. at 94; Haines v. Kerner, 404 U.S. 519, 520 (1972).
However, none of Mr. Krukowski’s claims survive the 12(b)(1) motion to dismiss.

       This Court only has jurisdiction to entertain claims against the United States. 28
U.S.C. § 1491(a)(1); United States v. Sherwood, 312 U.S. 584, 588 (1941); Moore v. Public
Defenders Office, 76 Fed. Cl. 617, 620 (2007) (“When a plaintiff’s complaint names
private parties, or local, county, or state agencies, rather than federal agencies, this court
has no jurisdiction . . . .”). Mr. Krukowski has not named any federal agency or the United
States as a defendant.

        This Court does not possess jurisdiction over “any claim . . . pending in any other
court . . . .” 28 U.S.C. § 1500. Claims based on substantially the same facts are considered
the same claim for purposes of § 1500. Pellegrini v. United States, 103 Fed. Cl. 47, 50
(2012). This complaint and the complaint currently filed in the U.S. District Court of

                                              3
         Case 1:16-cv-01010-TCW Document 15 Filed 12/02/16 Page 4 of 4



Nevada cite the same facts to allege very similar claims. Def.’s Mot., Att. A (Mr.
Krukowski claims he “was forced to answer questions” and that his criminal record was
“altered and modified.”). Mr. Krukowski states that the complaint filed in the U.S. District
Court of Nevada contains the same “violations.” Pl.’s Resp. at 15.

        This Court does not have the authority to hear claims that sound in tort. 28 U.S.C.
§ 1491(a)(1); Shearin v. United States, 992 F.2d 1195, 1197 (Fed. Cir. 1993). The Federal
Tort Claims Act grants jurisdiction to hear tort claims exclusively to federal district courts.
28 U.S.C. § 1346(b)(1). Claims of false arrest, abuse and negligence sound in tort.
O’Conner v. United States, 355 F. App’x 412, 413 (Fed. Cir. 2009); Dumonde v. United
States, 87 Fed. Cl. 651, 653 (2009). Identity theft is also a tort over which this Court does
not have jurisdiction. Aldridge v. United States, 67 Fed. Cl. 113, 120 (2005). Thus, the
Court does not have jurisdiction to hear Mr. Krukowski’s claims of false arrest, abuse and
neglect in custody, and identity theft.

       Mr. Krukowski also asserts violations of his constitutional rights. He claims
violations of the Fourth Amendment because he was subjected to an illegal search and
seizure, and violations of his due process rights under the Fourteenth Amendment during
and after his trial. Compl. at 3. However, this Court does not have jurisdiction over Fourth
Amendment or Fourteenth Amendment violations because monetary damages are not
available under either of these provisions. Brown v. United States, 105 F.3d 621, 623 (Fed.
Cir. 1997); LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995); Stephanatos v.
United States, 81 Fed. Cl. 440, 445 (2008).

                                         Conclusion

      For the reasons stated above, the Government’s motion to dismiss is GRANTED.
The Clerk of the Court shall enter judgment accordingly. In addition, Mr. Krukowski’s
motion to appoint counsel is DENIED as moot. See Dkt. No. 12. No costs.

       IT IS SO ORDERED.

                                                          _____________________
                                                          THOMAS C. WHEELER
                                                          Judge




                                              4
